         Case 23-10468-mdc                     Doc       Filed 11/17/23 Entered 11/17/23 15:08:35                              Desc Main
 Fill in this information to identify the case:          Document      Page 1 of 7
 Debtor 1              James A Sigovich
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Eastern District      of __________
                                                          of Pennsylvania
                                                      District

 Case number            23-10468
                        ___________________________________________




2IILFLDO)RUP 410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   Truist Bank
 Name of creditor: _______________________________________                                                        6
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                           1 ____
                                                         ____ 0 ____
                                                                  5 ____
                                                                      7              Must be at least 21 days after date        01/01/2024
                                                                                                                                _____________
                                                                                     of this notice


                                                                                     New total payment:                               6,048.35
                                                                                                                                $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
      
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                       0.01
                   Current escrow payment: $ _______________                       New escrow payment:                 3,973.89
                                                                                                               $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ✔ No
      
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:         _______________%                 New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      ✔ No
      
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                             page 1
          Case 23-10468-mdc                         Doc           Filed 11/17/23 Entered 11/17/23 15:08:35                           Desc Main
                                                                  Document      Page 2 of 7

Debtor 1         James     A Sigovich
                 _______________________________________________________                                           23-10468
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

      I am the creditor.
     ✔ I am the creditor’s authorized agent.
     


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.

  /s/Christina                   Digitally signed by /s/Christina
                                 Moore
 8_____________________________________________________________
  Moore
     Signature
                                 Date: 2023.11.17 11:29:28 -05'00'
                                                                                               Date    11/17/2023
                                                                                                       ___________________




 Print:             Christina Moore
                    _________________________________________________________                  Title   Bankruptcy   Processor
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            Truist Bank
                    _________________________________________________________



 Address            %DQNUXSWF\'HSDUWPHQW32%R[
                    _________________________________________________________
                    Number                 Street

                    5LFKPRQG                         9$       
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone       
                    ________________________                                                          0RUWJDJH%DQNUXSWF\#7UXLVWFRP
                                                                                               Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2
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                                         Document      Page 3 of 7




                                          CERTIFICATE OF SERVICE

                          Digitally signed by /
      /s/Christina s/Christina Moore
                    Date: 2023.11.17
      Moore
  I, _______BBBBBBBBBBB___________,
                    11:36:31 -05'00' do hereby certify that a true and exact copy of the
              Notice of Mortgage Payment Change
  foregoing _____________________________       ZDVVHUYHGE\8QLWHG6WDWHVPDLODQGRUHOHFWURQLF
             11/17/2023
  ILOLQJRQDGGUHVVHGDVIROORZV



  'HEWRU                                                                  'HEWRU V$WW\
  James A Sigovich                                                         BRAD J. SADEK
  95 Lavender Drive                                                         Sadek Law Offices, LLC
  Morrisville, PA 19067                                                     1500 JFK Boulevard
                                                                            Ste 220
                                                                            Philadelphia, PA 19102




   7UXVWHH
  KENNETH E. WEST
  Office of the Chapter 13 Standing Trustee
  1234 Market Street - Suite 1813
  Philadelphia, PA 19107




                               Digitally signed by /s/
    /s/Christina               Christina Moore
                               Date: 2023.11.17 11:39:24
    Moore                      -05'00'

  %DQNUXSWF\3URFHVVRUIRU7UXLVW%DQN
                                                                                                                                                          x
     CONTACT US
CaseVisit
     23-10468-mdc                   Doc Filed 11/17/23 Entered 11/17/23 15:08:35
          us online at truist.com/myhomeloan                                                                                             Desc Main
    Learn how escrows work at truist.com/myescrow
    Client Services:                           Document
                                             1-800-634-7928 Page 4 of 7
     Monday to Friday:                                       8 am to 8 pm ET
     Saturday:                                               9 am to 3 pm ET



         ^|ESC09|Shortage with spread||D|P|||1873093|P|1|^




         JAMES
               JAMES SIGOVICH
         95 LAVENDER DR
               95PA
                  LAVENDER                                                             Annual escrow shortage account disclosure statement
         YARDLEY    19067-5797 DR
                    YARDLEY PA 19067-5797
                                                                                               Loan Number:
                                                                                               Statement prepared date:                     11/13/2023
                                                                                               Review period:                       10/21/20 - 12/31/23
                                                                                               Property address                       95 LAVENDER DR
                                                                                                                                    YARDLEY PA 19067
                                                                                               New monthly payment amount                    $6,048.35
                                                                                               New payment effective date                   01/01/2024


    There's a shortage in your escrow account. Here's what that means.

    When you make a mortgage payment each month, we put a portion of that payment into an escrow account to pay your tax and insurance bills
    for you. However, Truist can’t control how much you will be charged, and these amounts may vary annually — making it difficult to predict
    escrow perfectly. When your tax and insurance bills go up, it can cause a “shortage” in your escrow account. On the other hand, if your taxes
    and insurance go down, you may end up with a “surplus.”

    To stay on top of this, we review your escrow account at least once a year to check that we are collecting enough from your monthly
    payments to cover your bills when they come due. Following our review, we issue this statement. Please note,information contained
    within this statement is accurate as of the Statement Prepared Date above and does not reflect any account activity since that date.

    Your monthly payment is changing, and here is why.

    Your shortage will be spread over the next 12 months. Your monthly escrow amounts will also change based on your current tax and insurance
    bills. These two changes will increase your monthly mortgage payment.

    While all of the details about your escrow account can be found within this document, we know you may still have questions. Some of your
    questions may be answered in the FAQ page attached to this statement. Still have questions? We're here to help. Reach out using
    the contact information above.


     You have a shortage in your escrow account
     The shortage results from a comparison of your required lowest balance to the lowest balance we estimate you would have if no adjustments
     were made to your escrow account. Check out section 3 on page 2 to see how we arrived at these numbers.

                                                                                                                                Lowest balance amount
     Projected escrow lowest balance for the coming year                                                                                   $32,592.99-
     Required escrow lowest balance                                                                                                          $2,156.24
     This difference created a shortage in your escrow account                                                                             $34,749.23-
     Shortage spread over 12 months (This amount will be added to your principal and interest amounts)                                    $2,895.77

     Your new monthly escrow amounts

     We took a look at your most recent tax and insurance bills to calculate your new monthly escrow amount. Projections are based on any known
     changes from last year to this year, but may not include adjustments that could happen during the upcoming year for reasons shown in
     section 2 on page 2. Please refer to section 1 on page 2 to see how we arrived at these numbers.
                                                                               New annual escrow payment                    New monthly escrow amount
     Taxes                                                                                    $12,937.42                                     $1,078.12
     Total                                                                                  $12,937.42                                   $1,078.12 *
     *This amount is needed each month to cover anticipated tax bills and insurance premiums for the coming year and will be added to your
     principal and interest amounts.

     Effective 01/01/2024, your new monthly mortgage payment will be: $6,048.35

     Wondering how all of this impacts your monthly payments? This section breaks it down for you. As you can see, the shortage will be spread
     over the next 12 months as noted in this table, and your escrow amount will be adjusted to match your tax and insurance bills. Please contact
     us for other payment options.
                                                                                 Current monthly payment                         New monthly payment
     Principal and interest                                                                    $2,074.46                                    $2,074.46
     Escrow account deposit                                                                        $0.01                                     $1,078.12
     Escrow shortage                                                                                                                         $2,895.77
     Total payment                                                                          $2,074.47                                     $6,048.35

     Here are your next steps

     1. Check out the FAQs attached to this statement if you are interested in alternatives to spreading the shortage over 12 months.

     2. Contact your local tax office or insurance company with any questions about your billing amounts.

     3. Manage any changes to your payment:
             • ACH and recurring draft payments – The amount of your draft will automatically be updated.
             • Payments via third-party or bill pay service – you will need to update your payment amount with that service provider.

     4. Visit Truist.com/myescrow or call us with any questions.
Case  23-10468-mdc
   Section     1: Your escrow account   Doc  history Filed    11/17/23
                                                      from 10/21/20  to 12/31/23Entered 11/17/23 15:08:35                 Desc Main
                                                      Document
   This is a statement of actual activity in your escrow                     Pageto5theof
                                                         account shown in comparison      7 we used from the prior period.
                                                                                       projections
                                 Deposits to escrow (+)                   Payments from escrow (-)                                                 Escrow balance
          Month/year           Projected        Actual                    Projected       Actual                      Description             Projected       Actual
     Starting balance                                                                                                                             0.00                 0.00

           Oct 2023               0.00                    0.00               0.00                 2,985.41 *                 Taxes                0.00            2,985.41-

           Oct 2023               0.00                    0.00               0.00                 2,882.58 *                 Taxes                0.00            5,867.99-

           Oct 2023               0.00                    0.00               0.00                11,831.64 *                 Taxes                0.00           17,699.63-

           Oct 2023               0.00                    0.00               0.00               10,580.92 *                  Taxes                0.00          28,280.55-

           Nov 2023               0.00                    0.01    *          0.00                     0.00                                        0.00          28,280.54-

           Dec 2023               0.00                    0.01    E          0.00                     0.00 E                                      0.00          28,280.53-
             Total               $0.00                  $0.02               $0.00            $28,280.55
      E – Indicates the activity has not yet occurred but is estimated to occur as shown
      * – Indicates a difference between actual activity and projected activity either in the amount or the date; possible reasons stated below

      Your monthly mortgage payment for the prior period was $2,074.47, of which $0.01 was applied to escrow. Last year, we anticipated making payments from your
      account equaling $0.00. However, what actually was paid to your tax authority and/or insurance carrier shown under “Actual” column was more than expected.
      Collecting that difference from you plus adjusting for that increase for the coming year has an impact to your normal monthly payment amount.

      Under Federal law, your minimum monthly balance should not exceed 1/6 (or 2 months) of the total projected payments for real estate taxes and hazard insurance
      from the account, unless your mortgage contract or state law specifies a lower amount. Your required minimum monthly balance for the prior period was $0.00.



      Section 2: A few reasons your projected and actual payment are different
      Differences between projected and actual payments to and from your escrow account may create a shortage or surplus in your account. The
      most common reasons for a difference between your projected escrow lowest balance and your required escrow lowest balance are tax rate
      and/or assessed value changes, hazard insurance premium or coverage changes. Additional factors are listed below:

                              Payments                                            Real estate taxes                                      Homeowners’ Insurance

      •     Monthly payment(s) received earlier or later than     •   Tax rate and/or assessed value changed             •    Premium changed
            expected                                              •   Exemption status lost or changed                   •    Coverage changed
      •     Monthly payment(s) were less than or greater          •   Supplemental/delinquent tax paid                   •    Additional premium paid or not paid
            than expected                                         •   Tax bill paid earlier or later than expected due   •    Insurance bill paid earlier or later than expected
      •     Previous overage was returned to escrow                   to frequency changes                               •    Premium was not paid
      •     Previous shortage not paid entirely                   •   Tax installment not paid                           •    Premium refund received
                                                                  •   Tax refund received                                •    New insurance escrow requirement paid
                                                                  •   New tax escrow requirement paid                    •    Lender placed insurance premium paid


      Section 3: Your estimated escrow account activity over the next 12 months
      The chart below is highlighted to show your estimated low balance* over the next 12 months.
                 • The lowest balance in your escrow account over the next 12 months is estimated to be $32,592.99- in August, 2024
                 • Your Minimum Required Balance is $2,156.24
                 • The difference between your estimated low balance and your minimum required balance shows your escrow account has a shortage of $34,749.23

           Month/year                          Activity                                  Estimated activity                               Escrow account balance
                                                                                                                                        Estimated           Actual
          Starting balance                                                                                                              28,280.53-                6,468.70
            Jan 2024          Deposit                          1,078.12              0.00                                                27,202.41-                7,546.82
            Feb 2024          Deposit                          1,078.12              0.00                                                26,124.29-               8,624.94
            Mar 2024          Deposit                          1,078.12              0.00                                               25,046.17-                9,703.06
            Apr 2024          Deposit                          1,078.12           2,568.12                 City Tax                      26,536.17-                8,213.06
            May 2024          Deposit                          1,078.12              0.00                                               25,458.05-                  9,291.18
            Jun 2024          Deposit                          1,078.12              0.00                                               24,379.93-               10,369.30
             Jul 2024         Deposit                          1,078.12              0.00                                                23,301.81-               11,447.42
            Aug 2024          Deposit                         1,078.12         10,369.30                 School Tax                    32,592.99- P               2,156.24 R
            Sep 2024          Deposit                          1,078.12              0.00                                                31,514.87-               3,234.36
            Oct 2024          Deposit                          1,078.12              0.00                                               30,436.75-                 4,312.48
            Nov 2024          Deposit                          1,078.12              0.00                                               29,358.63-                5,390.60
            Dec 2024          Deposit                          1,078.12              0.00                                               28,280.51-                6,468.72
              Total                                        $12,937.44          $12,937.42
      P – Indicates your projected escrow lowest balance
      R – Indicates your required escrow lowest balance

      *Escrow lowest balance (cushion): Under Federal law, your minimum monthly balance should not exceed 1/6 (or 2 months) of the total projected payments for real
      estate taxes and hazard insurance from the account, unless your mortgage contract or state law specifies a lower amount.
      We project the lowest balance in your escrow account as of August, 2024 will be $32,592.99-. The allowable lowest balance in your escrow account should be
      $2,156.24, which is equal to no more than 2 months of projected payments for real estate taxes and hazard insurance. This means you have a shortage of
      $34,749.23.
      Projected payments from escrow for the coming year are based on the last tax and/or insurance bills we received, or information provided to us by your settlement
                                                                                                                                           x


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   Frequently Asked Questions
                                               Document      Page 6 of 7
   How often is my escrow account analyzed?                              Shortages: Some answers about handling a
   And/or I got an escrow statement less than a                          shortage
   year ago. Why am I getting another one?
                                                                         What payment options are available to pay my
   We analyze your escrows once a year. Sometimes an additional
                                                                         shortage in full?
   analysis is required due to changes to your escrowed items
   (Example: Change in insurance or taxes), or terms of your loan
                                                                            • Shortage can be paid in full 15 days before your new
   (Example: A loan modification). You can also request an
                                                                              monthly payment change date noted on your escrow
   analysis if you want your payments adjusted after a change in
                                                                              statement.
   your insurance or taxes.
                                                                            • If you receive paper billing statements, you can simply
   I want to pay my own bills, what do I have to do                           write in the shortage amount under the “Additional
   if I don’t want to escrow?                                                 Escrow” field on the billing coupon when sending the
                                                                              mortgage payment in the mail.
   Typically, your escrow can be waived if you are eligible for that
   wavier due to adequate amount of equity in your property.                • You may also call our Client Services number,
                                                                              800-634-7928, to make a shortage payment over the
   I signed up for paperless statements, why am I                             phone without any fee.
   receiving paper escrow statements?
                                                                         If I pay my shortage now, will I keep the
   As far as annual escrow statements, our policy is to mail them.
                                                                         monthly mortgage payment I’m used to?
   We’ll let you know once we’re able to go paperless for escrow
   statements as well.                                                   No. and here is why:

   Where can I find copies of my older escrow                               • Your payment change includes two things: Shortage
   statements?                                                                in your escrow account, as well as adjustment to your
                                                                              monthly escrow amount going forward. While paying
   You may access up to two years of escrow statements online or              the outstanding escrow shortage reduces the deficit
   via the mobile app. If you need escrow statements that are                 created by increases in tax and/or insurance, Truist still
   more than two years old, please call us to request copies.                 has to adjust the collection amounts needed to keep
                                                                              up with those changes for the coming year.
   Why did my monthly mortgage amount
                                                                            • However, your monthly mortgage amount will increase
   change after this analysis was conducted?
                                                                              less if you pay it in full rather than choosing the
   Increases or decreases typically occur when a change occurs                12-month spread. Otherwise, 1/12th of the shortage is
   in your real estate taxes or your homeowners insurance                     added to your principal and interest each month along
   policies.                                                                  with the extra funds needed to keep up with those
                                                                              taxes and/or premiums.
      • Hazard Insurance: Your premium may be different as a
        result of changes to the type or extent of your insurance
        coverage, or if your insurance company changed your
                                                                         How can I look for ways to manage a shortage
        insurance rate. We encourage you to contact your                 in the future rather than waiting once a year?
        insurance company or local insurance agent for any
        questions regarding changes to your hazard insurance             This is a great question. Keep an eye on changes to your
        premiums.                                                        bills for property taxes and homeowner’s insurance:

      • Real Estate Taxes: Your real estate taxes may be
                                                                            • Your local tax office and insurance provider should
        different as a result of your property being reassessed
                                                                              notify you of changes to your bill even though we pay
        or if the tax rate has changed. Unexpected tax bills for
                                                                              those bills out of your escrow account.
        special assessments charged by our local tax office will
        also impact the amount we collect for your real estate              • You can sign on to your account at any time to see the
        taxes. We encourage you to contact your local tax office              payments made to the tax authority and/or insurance
        for any questions regarding changes to your real estate               carrier which will reflect changes in the available
        taxes.                                                                escrow balance.

      • New Construction: Differences may occur with partially
                                                                            • You can also sign up for alerts at Truist.com/signon, to
        assessed real estate tax bills for new construction.
                                                                              receive notifications whenever we make a payment on
        Typically, the first tax bill for new property is only for the
                                                                              your behalf from your escrow account. You can also
        lot/land. We may have received a bill for the fully
                                                                              sign up for an alert that will let you know when an
        assessed value which includes the land and the house.
                                                                              escrow analysis is coming up for your account.
      • Initial Escrow Deposit: Escrow is sometimes estimated
         at loan closing because information may not be                     • Prior to the annual analysis, you can fund your escrow
         available at that time. If the amount collected for the              account to help avoid a shortage. You can also shop
         setup of your escrow account was more or less than the               for equal or better coverage with other carriers that
         actual bills received for real estate taxes and/or                   could result in reduced premiums for your
         insurance premiums, this will cause your monthly                     homeowner’s insurance.
         mortgage payment to change.


    I have a few more questions. Who can I ask?
    First off, thank you for allowing us to play a role in your homeownership journey. We know you’re going to have
    questions along the way, and we’re happy to help you understand what has changed, and why. Check your email for
    an escrow snapshot we recently sent. We hope you’ll find it helpful. And if you’d like more information about your
    escrow account, visit: Truist.com/myescrow or call us at 800-634-7928.
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